         Case 20-33177-FJS                        Doc        Filed 05/20/25 Entered 05/20/25 11:23:17                                Desc Main
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 Fill in this information to identify the case:

 Debtor 1                  Kandise Nadine Lucas

                           fka Kandise Thomas-Humphrey dba Advocates For Equity In Schools

 Debtor 2
 (Spouse, if filing)
 United States Bankruptcy Court for the:           Eastern    District of           Virginia
                                                                                     (State)
 Case number                                      20-33177



Official Form 410S1
Notice of Mortgage Payment Change                                                                                                                   12/15

If the debtor's plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor's principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.

Name of creditor:                 Servbank, SB                                                 Court claim no. (if known):                       4-2

Last four digits of any number you use to                                                      Date of payment change:
identify the debtor's account:                                              0522               Must be at least 21 days after date of       07/01/2025
                                                                                               this notice



                                                                                               New total payment:
                                                                                               Principal, interest, and escrow, if any $509.85

Part 1:                Escrow Account Payment Adjustment

 1. Will there be a change in the debtor's escrow account payment?
     No
     Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe
              the basis for the change. If a statement is not attached, explain why:

                          Current escrow payment:        $250.84                               New escrow payment:            $247.82

Part 2:                Mortgage Payment Adjustment

 2. Will the debtor's principal and interest payment change based on an adjustment to the interest rate on the debtor's variable-
    rate account?
     No
     Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
              attached, explain why:

                         Current interest rate:                                 %              New interest rate:                               %

                         Current principal and interest payment             $                  New principal and interest payment:      $

Part 3:                Other Payment Change

 3. Will there be a change in the debtor's mortgage payment for a reason not listed above?
          No
          Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification
                agreement. (Court approval may be required before the payment change can take effect.)
                         Reason for change:          Payment change due to the twelve month pro-rated escrow shortage spread ending.
                         Current mortgage payment:           $512.87                            New mortgage payment:         $509.85




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     Case 20-33177-FJS                           Doc      Filed 05/20/25 Entered 05/20/25 11:23:17                              Desc Main
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Debtor 1                                      Kandise Nadine Lucas                            Case Number (if known)               20-33177
                         First Name              Middle Name           Last Name



Part 4:        Sign Here


The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and telephone number.

Check the appropriate box.

                        I am the creditor.

                        I am the creditor's authorized agent.


I declare under penalty of perjury that the information provided in this Notice is true and correct to the best of my knowledge,
information, and reasonable belief.


   /s/ Natalie E. Lea                                                                   Date      05/19/2025
     Signature


Print:            Natalie E. Lea                                                          Title    Authorized Agent for Servbank, SB
                   First Name            Middle Name             Last Name


Company           Bonial & Associates, P.C.


Address           14841 Dallas Parkway, Suite 350
                  Number                Street

                  Dallas, Texas 75254
                  City                  State                   Zip Code


Contact phone             (972) 643-6600                           Email     POCInquiries@BonialPC.com




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                          CERTIFICATE OF SERVICE OF PAYMENT CHANGE NOTICE



  I hereby certify that a true and correct copy of the foregoing document has been filed with the court and served upon
  the following parties in interest on or before May 20, 2025 via U.S. Mail. All other parties in interest listed on the
  Notice of Electronic Filing have been served electronically.


  Debtor                              Via U.S. Mail
  Kandise Nadine Lucas
  514 East Williamsburg Road
  Sandston, VA 23150




                                                        Respectfully Submitted,

                                                        /s/ Natalie E. Lea
                                                        Natalie E. Lea




  PAYMENT CHANGE NOTICE - CERTIFICATE OF SERVICE                                                   2225-N-6645
                                                                                               COS2310_PCN000
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